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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. AY “233
v. : DATE FILED:
MAURICE HILL VIOLATION:

18 U.S.C. § 922(g)(1)

(possession of a firearm by a convicted
felon - 1 count)

Notice of forfeiture

INFORMATION Fy L E D

APR 2
COUNT ONE iting Le & 200g
THE UNITED STATES ATTORNEY CHARGES THAT: i ante

On or about September 1, 2007, in Sharon Hill, in the Eastern District of
Pennsylvania, defendant
MAURICE HILL,
having been convicted in a court of the State of Pennsylvania of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed in and affecting interstate
commerce a firearm, that is, aa Taurus PT .45, semi-automatic , serial number NVF08888, fully

loaded.

In violation of Title 18, United States Code, Section 922(g)(1).
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NOTICE OF FORFEITURE

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

As a result of the violation of Title 18, United States Code, Section 922(g)(1), set
forth in this information, defendant

MAURICE HILL
shall forfeit to the United States of America, the firearm and ammunition involved in the
commission of this offense, including, but not limited to:
a Taurus PT .45, semi-automatic , serial number NVF08888
All pursuant to Title 28, United States Code, Section 2461(c), and Title 18,

United States Code, Section 924(d).

 

UNITED STATES ATTORNEY
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UNITED STATES DISTRICT COURT
Eastern District of Pennsylvania

Criminal Division

 

THE UNITED STATES OF AMERICA

MAURICE HILL

 

 

INFORMATION

Counts
18 U.S.C. § 922(g)(1) (possession of a firearm by a convicted felon- | count)
Notice of forfeiture

 

 

 

 

A true bill.
OO Foreman
Filed in open court this... day,
of... A.D.20...
eee Clerk sis
Bail, $_.00

 
